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                   IN THE UNITED STATES DISTRICT COURT

              FOR THE WESTERN DISTRICT OF WISCONSIN
____________________________________


UNITED STATES OF AMERICA,

                         Petitioner,
                                                               ORDER
     v.
                                                         05-cr-22-jcs-01

JABAR SMITH,

                    Respondent.
____________________________________

     Petitioner moves under 18 U.S.C. §3582(c)(2) to reduce his

sentence because of the lowering of the sentencing guideline range

applicable to him on November 1, 2007.            The Court will order that

the government respond to this motion not later than January 10,

2008.     Respondent may reply not later than January 21, 2008.

     SO ORDERED this 12th day of December, 2007.

                                     BY THE COURT:

                                            /s/

                                     ________________________
                                     JOHN C. SHABAZ
                                     District Judge
